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      In The United States Court of Federal Claims
                                            No. 12-30C

                                       (Filed: May 31, 2013)
                                            __________
 ROCKY MOUNTAIN RECREATION
 OF UTAH INC., formerly doing business
 as U-BAR WILDERNESS RANCH,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                            __________

                                             ORDER
                                            __________

       On May 28, 2013, a status conference was held in this case. Participating in the
conference were Steven Lechner, for plaintiff, and Bryant Snee, for defendant. Pursuant to
discussions during the conference:

       1.       Proceedings in this case are STAYED until further notice;

       2.       This case is hereby referred to Judge Marian Horn, to conduct Alternative
                Dispute Resolution (ADR). The parties shall notify the court immediately
                if settlement discussions break down and there is a need to restore this
                case to the active docket; and

       3.       On or before July 31, 2013, the parties shall file a joint status report which
                shall either:

                a.     Alert the court of the parties’ plan to continue to negotiate toward
                       settlement in ADR, or

                b.     Propose a briefing schedule for cross motions for summary
                       judgment.

       IT IS SO ORDERED.

                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
